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ANDREWM. ZACKS (SBN147794) §:' §§ §; D
JAMESB.KRAUS($BN184113) “ ”“”
ZACKS UTRECHT &LEADBETTER,P..,C'_ §§ § §§§§ §§ P§§ "- §j§
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San Francisco,CA 94104 F-z`\x".i §")=`;T§`L§. <':5%1 §R§
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Attomeys for: plaintiff Regan Carroll TrusE-'F|l l ng

UNITED STATES DISTRICT COURT

   

NORTHERN DISTRICT OF CALIFO A

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REGAN CARROLL TRUST egan ()) I7ACT 1315)7 711-mm-q CS
Carroll, trustee,
) COMPLAINT FOR IN]UNCTIVE
Plaintiff, ) RELIEF AND DAMAGES FOR
) VIOLATION OF C.IVIL RIGHTS
V» )
) [23 U.S.C. § 1983]
CITY AND COUNTY OF SAN )
FR.ANCISCO, SAN FR.ANCISCO ) DEMAND FOR JURY TRIAL
DEPARTMENT OF BUILDING )
INSPECHON, SAN FRANCISCO )
BUILDING INSPE CTION ]
COMMISSION, SAN FRANCISCO )
PLANNING DE PARTME NT )
)
Defendants. )
)

 

 

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_IURISDICTION AND VENUE

1. This Court has jurisdiction over this action pursuant to 28 U.S.C. §§
1331, in that the controversy arises under the United States Constitution and under 42
U.S.C. §§ 1983. Vcnue is proper pursuant to 28 U.S.C. § 1391(a) in that all defendants
reside in this judicial district and the events giving rise to the claims occurred in this
district

2. Plaintiff Regan Carroll Trust is a private trust established in the state of
California. Regan Carroll is its trustee.

3. Regan Carroll Trust owns the real property located at 1179- 1189
Tennessee Street (the “Property”), in San Francisco, California.

4. Defendant City and County of San Francisco (“City”) is
an incorporated municipality of the State of Califomia. Defendants San Francisco
Department of Building Inspection (“DBI”), San Francisco Building Inspection
Commission (“BIC”), and San Francisco Planning Department (“Planning”) are
divisions of defendant City:

STATEMENT OF FACTS

5. In or around 1999, Plaintiff succeeded to a building permit application
to the City for a four- story mixed use commercial/ residential building (“Project”) on
the Property, BPA No. 9902819 (“Application”). Plaintist successor-in-interest had
been directed by Planning to review the project with the Dogpatch Neighborhood

Association (“DNA”) to obtain the review of and approval for the Project because

 

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Cornplaint for Injunctive Relief and Darnages

 

 

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Planning had ceded and delegated its governmental authority to that private body.1
'I`his delegation of power is similar to that in §c_hMl_n§ (N.D. Cal. 1994) 849
F.Supp. 708 in which this Court found the City’s delegation of land use power to
another San Francisco neighborhood group (Bemal Heights, not far from Dogpatch)
violated the United States Constitution. Upon succeeding to the Application,
Plaintiff also met with DNA for the purpose of obtaining its approval.

6. Planning refused to determine whether the Application was complete
unless DNA approved it. However, because DNA would neither approve nor
disapprove the Application, Plaintiff had to force Planning to do its job.

7. The Application was finally determined to be complete by Planning
in ]une 2001. After the Application was deemed complete, Planning caused a notice
to be posted and mailed in accordance with Section 312 of the Planning Code
commencing the 30 day appeal period. DNA made no objections during the
Planning Con~nnission comment period that expired on ]uly 26, 2001. Planning
approved the Application on August 7, 2001. Planning approved the site permit on
September 10, 2002. This constituted the end of the discretionary approval process.

8. During the next three years the addenda drawings were routed to
various departments of the City for ministerial review and approval, revisions were
made, and all necessary approvals were given. Having received all approvals, the

Central Permit Bureau (“CPB”) sent Plaintiff a notice that the permit was ready to be

 

1Dogpatch is a little-known, but powerful and politically-connected neighborhood on
the eastern side of San Francisco.

 

 

 

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Complaint for Injunctive Relief and Darnages

 

 

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picked up subject only to the condition of payment of school facilities fee.

9. Upon presentation of the certificate of payment for the school facilities
fee, CPB had a mandatory duty to deliver the permit to Plaintiff.

10. On December 2, 2005, Plaintiff presented the Certificate of Payment
of School Facility Fees (“Certificate”) issued by the San Francisco Unified School
District evidencing his payment of school fees of $20,282.36 to the CPB, but was
advised by the CPB staff that the permit and addenda drawings had been removed
from the CPB by Moses Corrette of Planning and he would have to speak with
Corrette. Plaintiff was not told the circumstances of or the authority under which
Corrette allegedly removed the drawings, but believes it to be under mysterious and
aberrant circumstances - Corrette was not the planner assigned to the Project, had
not been involved in the approval process, and ostensibly removed the drawings from
CPB after being contacted by a member of DNA.

11. Corrette had been intimately involved with DNA and its members
during the process that ultimately resulted in the creation of the Dogpatch Planning
Historical District.

12. The Certificate was not accepted and the permit was not delivered to
Plaintiff as promised and as required upon receipt of proof of payment of the school
facilities fees.

13. The action by Corrette was in excess of his own authority as a planner
not involved in the project approval process. It was also in excess of the power of

Planning its elf.

 

 

 

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Compla.int for Injunctive Relief and Damages

 

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14. Plaintiff discovered that the mysterious and aberrant circumstances
consisted of ex parte contacts and undue influence by certain members of the DNA
on public officials, and more particularly on Corrette. Unbeknownst to Plaintiff, the
permit and addenda drawings Were removed from CPB late at night, in a manner
reminiscent of Watergate, and taken back to Planning. CPB’s refusal to deliver the
permit to Plaintiff upon proof of payment of the school facilities fees was in excess of
its jurisdiction and in violation of its ministerial duty as DBI had no discretion
regarding the delivery of the permit.

15. Contrary to PlaintifPs vested right to the permit, DBI and Planning
contrived various meritless reasons for withholding it, including non-substantive
changes to the Planning Code enacted after Plaintiff’s right vested. They engaged in
unreasonable, arbitrary, and capricious conduct, without any rational basis, and
singled Plaintiff out for special handling by order of DNA as a result of the power the
City had unlawfully delegated to it.

COUNT ONE AGAINST ALL DE FENDANTS
VIOLATION OF 42. U.S.C. § 1983 BY
UNLAWFUL DELE GATION OF POWER

16. Plaintiffs incorporate by reference paragraphs 1-15.

17. Defendants have de facto delegated municipal regulatory decision-
making authority to a private entity - DNA - in violation of the due process clause of
the Fourteenth Amendment to the United States Constitution.

18. Furthermore, this delegation of power to DNA was done without

supplying standards to govern the use of private discretion. DNA wields his

 

 

 

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Complaint for Injunctive Relief and Damages

 

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influence against those it disfavors and for those it favors.
19. Defendants act as a rubber stamp for the decisions and demands of
DNA, thus constituting an unlawful delegation of power to the detriment and harm
of Plaintiff because he is dis favored by DNA. Had Defendants not delegated their
power to DNA, his status as being disfavored by DNA would not have affected his
right to permit issuance.

COUNT TWO AGAINST ALL DE FENDANTS

VIOLATION OF 42. U.S.C. § 1983
BY VIOLATION OF EQUAL PROTECTION

20. Plaintiffs incorporate by reference paragraphs 1-15.

21. Defendants’ delegation of governmental power to DNA is irrational,
and plainly arbitrary.

22. DNA used the delegation of power to abuse Plaintist rights to due
process of the law in his permit application. The City knew or should have known
that DNA would abuse the power delegated to it by the City and would not act in
accordance with standards that would have been applicable to the City.

23. By unlawfully delegating City power to DNA, without standards or
oversight, Defendants have deprived Plaintiff of the equal protection of the law in
violation of the Fourteenth Amendment to the United States Constitution.

PRAYER
By reason of the foregoing acts the plaintiffs pray the Court
1. Enjoin the unlawful acts of the Defendants, specifically:

a. To enjoin the Defendants from unlawfully delegating their

 

 

 

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Complaint for Injunctive Relief and Damages

 

 

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authority to DNA or anyone else;
b. To enjoin the Defendants from refusing to issue qualified
pennits;
2. For an award of damages in the amount of $5,000,000;
3. For an award of attomey’s fees as allowed by law;
4. For any other relief that the Court deems just and proper.
Date: May 14, 2007 ZACKS UTRECHT 8c LEADBETTER, P.C.
235 Montgomery Street, Suite 400
San F cisco, CA 94104
MDREWM. zAcKs
Attomeys for Plaintiff
DEMAND FOR lURY TRIAL
Plaintiffs hereby demand trial by jury.
Date: May 14, 2007 ZACKS UTRE CHT 86 LEADBETTER, P.C.
235 Montgomery Street, Suite 400
San Francisco, CA 94104
By: v __
ANDREW M. ZACKS
Attomeys for Plaintiff
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